IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division
LAMA MAKSOSA,
Plaintiff,
Vv.

1:21-cv-25 (LMB/MSN)

AMAZON WEB SERVICES, et al.,

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Defendants.

ORDER

The parties have submitted a Joint Motion to Stay Proceedings Until Conclusion of
Plaintiff's EEOC Charge (“Joint Motion”) [Dkt. No. 13]. Although a Right to Sue Letter from
the Equal Employment Opportunity Commission (“EEOC”) was issued on October 16, 2020, for
unexplained reasons plaintiff “asked the EEOC to reconsider its determination on her charge.”
{Dkt. No. 13] at 1. As a result, the EEOC granted her request to reconsider and on December 17,
2020, rescinded the Notice of Right to Sue it had issued on October 16, 2020. Despite no longer
having the required EEOC authorization to sue, on January 7, 2021, plaintiff filed this pending
complaint alleging that she was the victim of national origin discrimination, retaliation, and
sexual harassment in violation of Title VII of the Civil Rights Act, 42 U.S.C. § 2000e, et seq.

This complaint must be dismissed without prejudice because the Court does not have

subject matter jurisdiction over it. Davis v. North Carolina Dep't of Corrections, 48 F.3d 134,

140 (4th Cir, 1995) (“We have long held that receipt of, or at least entitlement to, a right-to-sue
letter is a jurisdictional prerequisite ... .”).Without subject matter jurisdiction, the Court has no

power to stay or take any other action except to dismiss the complaint without prejudice to
plaintiffs right to file a new complaint if, and when, the EEOC issues a notice of Right to Sue
letter.’

For these reasons, the Joint Motion [Dkt. No. 13] is DENIED, and it is hereby

ORDERED that this civil action be and is DISMISSED WITHOUT PREJUDICE.

To appeal this decision, plaintiff must file a written Notice of Appeal with the Clerk of
this court within thirty (30) days of the date of the entry of this Order. A written Notice of
Appeal is a short statement stating a desire to appeal an order and identifying the date of the
order plaintiff wants to appeal. Failure to file a timely Notice of Appeal waives plaintiff's right
to appeal this decision.

The Clerk is directed to forward copies of this Order to counsel of record and plaintiff pro
se and close this civil action.

Entered this 5 ay of April, 2021.

Alexandria, Virginia

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Leonie M. Brinke:na
United States District Judge

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' Should plaintiff file a new complaint, she should not stamp “confidential” over every page, as
pleadings are expected to be filed publicly unless there are specific justifications for sealing.
